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                      Exhibit 22
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                                                                          Page 1
           UNITED STATES DISTRICT COURT
           EASTERN DISTRICT OF LOUISIANA



 IN RE: XARELTO           )   MDL No.: 2593
 (RIVAROXABAN) PRODUCTS   )   Section: L
 LIABILITY LITIGATION     )   Judge Eldon E. Fallon
                          )   Mag. Judge North
                          )
                          )
                          )
                          )
 JOSEPH J. BOUDREAUX,     )   Case No.:   14-cv-2720
 JR., ET AL               )




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   Videotaped Deposition of CINDY A. LEISSINGER,

M.D., taken on Thursday, December 8, 2016, in the

office of The Lambert Firm, A.P.L.C., 701 Magazine

Street, New Orleans, Louisiana 70130, commencing

at 2:10 p.m.




Reported by:
AURORA M. PERRIEN
CERTIFIED COURT REPORTER
REGISTERED PROFESSIONAL REPORTER




      Golkow Technologies,                  Inc - 877.370.3377

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                                                                              Page 4
 1                  A P P E A R A N C E S
 2   REPRESENTING JOSEPH J. BOUDREAUX, JR. AND
     LORETTA BOUDREAUX:
 3
               SCHLICHTER, BOGARD & DENTON, L.L.P.
 4             BY: ROGER DENTON, ESQ.
               100 South 4th Street, Suite 1200
 5             St. Louis, Missouri 63102
               314.621.6115
 6             Rdenton@uselaws.com
 7             BARRIOS, KINGSDORF & CASTEIX, L.L.P.
               BY: EMMA E. KINGSDORF, ESQ.
 8             701 Poydras Street, Suite 3650
               New Orleans, Louisiana 70139-3650
 9             504.524.3300
               Ekingsdorf@bkc-law.com
10
11
12   REPRESENTING JANSSEN PHARMACEUTICALS, INC.,
     JANSSEN RESEARCH & DEVELOPMENT, L.L.C., JANSSEN
13   ORTHO, L.L.C.:
14          IRWIN, FRITCHIE, URQUHART & MOORE,
            L.L.C.
15          BY: KIM E. MOORE, ESQ.
            400 Poydras Street, Suite 2700
16          New Orleans, Louisiana 70130-3280
            504.310.2108
17          Kmoore@irwinllc.com
18          IRWIN, FRITCHIE, URQUHART & MOORE,
            L.L.C.
19          BY: JEANETTE F. MILLS, ESQ.
            400 Convention Street, Suite 1001
20          Baton Rouge, Louisiana 70802
            504.310.2100
21          Jmills@irwinllc.com
22          BARRASSO, USDIN, KUPPERMAN, FREEMAN &
            SARVER, L.L.C
23          BY: ANDREA M. PRICE, ESQ.
            909 Poydras Street, 24th Floor
24          New Orleans, Louisiana 70112
            504.589.9700
25          Aprice@barrassousdin.com

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                                                                              Page 5
 1
      REPRESENTING BAYER HEALTHCARE PHARMACEUTICALS,
      INC., and BAYER PHARMA AG:
 2

                 KAYE SCHOLER, L.L.P.
 3
                 BY: JULIE B. duPONT, ESQ.
                 250 West 55th Street
 4
                 New York, New York 10019-9710
                 212.836.8572
 5
                 Julie.dupont@kayescholer.com
 6

 7

      ALSO PRESENT:
 8

                 MELISSA BARDWELL, VIDEOGRAPHER
 9

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                                                                           Page 148
 1
            A.    -- 3rd 2014.
 2
            Q.    It's on Page 4, your --
 3
            A.    Okay.
 4
            Q.    -- PT opinions.           You --
 5
            A.    Okay.
 6
            Q.    -- begin with "Upon admission."
 7
            A.    Okay.
 8
            Q.    And you note his PT, 13.6 seconds;
 9
      INR, 1.4; PTT, 24.3 seconds?
10
            A.    Correct.       Yes.
11
            Q.    You would agree that these results don't
12
      indicate that Mr. Boudreaux was
13
      overanticoagulated; correct?
14
                  MR. DENTON:
15
                        Object to the form.
16
                  THE WITNESS:
17
                        They -- they're not going to indicate
18
                  any degree of anti -- they -- they don't
19
                  indicate a degree of anticoagulation.                           But
20
                  they do suggest that he has anticoagulant
21
                  -- an anticoagulant in his system.
22
      BY MS. MOORE:
23
            Q.    Okay.      But they -- they don't give you any
24
      clinical significance with respect to the amount
25
      of coagulation?

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                                                                           Page 192
 1
            Q.    There's no evidence that Mr. Boudreaux was
 2
      overanticoagulated; correct?
 3
                  MR. DENTON:
 4
                        Object to the form of the question.
 5
                  THE WITNESS:
 6
                        We have no way of testing.                 We have no
 7
                  way to monitor.           We have no way to test.
 8
                  We have no way to know whether he was anti
 9
                  -- overanticoagulated or -- or precisely
10
                  anticoagulated or not, which is the
11
                  problem with Xarelto.
12
      BY MS. MOORE:
13
            Q.    Have you formed an opinion about why he
14
      continues to be anemic two years after his GI
15
      bleed and the discontinuation of anticoagulation
16
      with Xarelto?
17
                  MR. DENTON:
18
                        Object to the form.
19
                  THE WITNESS:
20
                        So there are many causes for anemia.
21
                  And as one ages, there are a variety of --
22
                  of reasons why someone -- someone can
23
                  become more anemic.             So, you know, again,
24
                  I -- you know, we -- we could go over that
25
                  in detail and I could render an opinion.

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                                                                           Page 236
 1
                             C E R T I F I C A T E
 2
           This certification is valid only for
 3
      a transcript accompanied by my original signature
 4
      and original seal on this page.
 5
           I, AURORA M. PERRIEN, Registered Professional
 6
      Reporter, Certified Court Reporter, in and for the
 7
      State of Louisiana, as the officer before whom
 8
      this testimony was taken, do hereby certify that
 9
      CINDY A. LEISSINGER, M.D., after having been duly
10
      sworn by me upon the authority of R.S. 37:2554,
11
      did testify as hereinbefore set forth in the
12
      foregoing 235 pages; that this testimony was
13
      reported by me in the stenotype reporting method,
14
      was prepared and transcribed by me or under my
15
      personal direction and supervision, and is a true
16
      and correct transcript to the best of my ability
17
      and understanding; that the transcript has been
18
      prepared in compliance with transcript format
19
      guidelines required by statute or by rules of the
20
      board; and that I am informed about the complete
21
      arrangement, financial or otherwise, with the
22
      person or entity making arrangements for
23
      deposition services; that I have acted in
24
      compliance with the prohibition on contractual
25
      relationships, as defined by Louisiana Code of

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                                                                           Page 237
 1
      Civil Procedure Article 1434 and in rules and
 2
      advisory opinions of the board; that I have no
 3
      actual knowledge of any prohibited employment or
 4
      contractual relationship, direct or indirect,
 5
      between a court reporting firm and any party
 6
      litigant in this matter nor is there any such
 7
      relationship between myself and a party litigant
 8
      in this matter.           I am not related to counsel or to
 9
      the parties herein, nor am I otherwise interested
10
      in the outcome of this matter.
11

12

13

14

15
                           AURORA M. PERRIEN, CCR, RPR
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